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                                COMMONWEALTH OF PUERTO RICO
                                   COURT OF FIRST INSTANCE
                                  SUPERIOR PART OF SAN JUAN



           TENERIFE REAL ESTATE                           CIVIL NO.: K CD2009-0708
              HOLDINGS, LLC.
                  Plaintiff                               SESSION ROOM: 603

                          VS.                             RE:

        EMÉRITO ESTRADA RIVERA,                           COLLECTION OF MONEY,
             ISUZU, PR, INC.                              FORECLOSURE OF MORTGAGE
                Defendant


                                  RESOLUTION AND ORDER
           On November 7, 2011, Judgment was rendered in this case. It was

 entered by agreement and stipulation between the parties to the case. Said

 Judgment GRANTING the foreclosure of the real estate mortgage, was issued

 entirely under the laws of Puerto Rico 1, without any ingredient of substantive

 or federal procedural law. Said judgment provides for the foreclosure of the

 first mortgage over real estate property. The foreclosure must be carried out

 through the process of public auction mandated by the Puerto Rico Mortgage

 Act, 30 LPRA §6107, §6136 to §6145. Foreclosure is the remedy that the

 judgment grants, the Court must have jurisdiction to issue the very remedy it

 grants, as well as over the other aspects of the case, i.e. Remedy Jurisdiction.

 See; Arbaugh v. Y&H Corp; 546 U.S. 500, 126 S.Ct. 235, 163 L.Ed.2d 1097

 (2006), Prou v. U.S. 199 F.3d 37, 45-46, (USCA 1st, 1999) and Bivens v. Six

 Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388,91 S.Ct.

 1999, 29 L.Ed.2 d 619 (1971), concurring opinion of Justice Harlan, and

 footnotes 5 and 6; additional sources cited in the text.



 1Federal courts lack jurisdiction to amend state judgments based on state law. Fox Film Corp. v. Muller, 296
 U.S. 207, 210, 56 S. Ct. 183, 184, 80 L. Ed. 158 (1935); Martinez v. Ryan, 566 U.S. 1, 10-11, 32 S. Ct. 1309,
 1316, 182 L. Ed. 2d 272 (2012); Coleman v. Maldonado, No. 3:15-CV-1878 (MPS), 2018 WL 1587462. Real
 property is governed by the laws of the state where it is situated. Articles 49 and 50 of the Civil Code of Puerto
 Rico of 2020, and 31 LPRA § 10- article 10 of the Civil Code of Puerto Rico of 1930.
 State Courts lack jurisdiction to modify their own judgments once they become final, binding, and unappealable.
 The Judgment concludes the controversy, since once the Judgment is final and binding, there is no longer a
 case or controversy, which constitutionally limits jurisdiction. León v. Rest. El Tropical, 154 D.P.R. 249 (2001).
 This duality establishes the binding force of the Final Judgment of November 7, 2011. Courts must be zealous
 guardians of our jurisdiction. Dávila Pollock v. R.F. Mortg., 182 DPR 86, 97, (2011). Rodriguez v. Zegarra 150
 D.P.R. 649 (2000); Hernandez v. Marxuach Const. Co., 142 D.P.R. 492 (1997), We have a duty to examine its
 presence and extent, as well as to act accordingly.
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          The deed of mortgage, the stipulation submitted in 2011 and the judgment

 rendered on November 7, 2011, in this case set the minimum price for the first public

 auction at two million three hundred sixty-five thousand dollars ($2,635,000.00). The

 Judgment of November 7, 2011, establishes that the principal amount due and

 secured by the first mortgage is $2,221,245.93 as of that date. The mortgage note

 provides that the sums due accrue interest at ten percent per annum (10%),

 consequently accruing $222,124.59 per annum from November 7, 2011, until paid in

 full.

          The motion for the issuance of this Ruling and Opinion is a Request for Relief

 in Enforcement of the Effectiveness of the Judgment and in Aid of Jurisdiction filed

 on July 9, 2021. That is the second time Tenerife requests Remedy in Enforcement of

 Judgment; the first time was on June 18, 2019, after the Puerto Rico Court of Appeals

 affirmed the January 17, 2018 ruling and the Puerto Rico HSC denied to review HCA's

 judgment and remanded the Writ on February 8, 2019 in appeal CC 2018-1063. But

 before the Federal First Circuit Court of Appeals affirmed the June 2019 federal

 judgment. At that time this Court did not issue relief, it precisely afforded the Federal

 Court every available space and deference to exercise its jurisdiction within the limits

 of jurisdiction; that is, this Court then, de facto, abstained. Two years have passed,

 WM Capital and its counsel continue to insist on flouting what was ordered and

 sentenced by this Court, both on November 7, 2011 and January 17, 2018, and to

 cancel the November 7, 2011 judgment.

          The factual legal scenario that this Court has in mind is that again, the same

 third party to this case, WM Capital Management, Inc. who is a party to a certain

 Assignment Agreement of undivided part “for the payment” of Mr. Juan Almeida León's

 obligation, and of State Judgment insists on undermining, modifying and annulling

 what has been Sentenced by this Court and affirmed on appeal. The situation is

 exacerbated by the existence of several contradictory judgements. WMC alleges and

 argues      that      what      was      “assigned      to     it     for     payment”,
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 includes the 50% joint community rights of Tenerife Real Estate Holdings, LLC, in the

 promissory note and Judgment issued in this case on November 7, 2011. With such

 a position, WMC again disregards the January 17, 2018 ruling of this Court in this

 case. The Federal District Court for the District of Puerto Rico, issued Final Judgment

 on June 27, 2019 “docket 289” in case 16-cv-01394-JAW, wherein it disposes on

 several issues, the most relevant to this incident is that that Federal Judgment orders

 the parties in that Federal Case, to sign a stipulation to proceed with the public

 auction of the mortgaged property described below, in order to execute the judgments

 rendered in this case and in case K CD2011-0142 (also about foreclosure on the same

 property, the mortgages there are second, third and fourth ranking mortgages

 belonging to Mr. Francisco Almeida León and his wife 100%). What is particularly

 disturbing about this Federal Judgment is that it orders to proceed with the public

 auction process in this case and in case K CD2011 0142 for amounts of minimum

 price and process different from the one decreed by the Judgments of this Court that

 are sought to be executed. In other words, it seeks to substantially modify the existing

 Judgments and rulings since 2011 in cases K CD2009-0708 and K CD2011-0142, as

 well as to deviate from the statutory foreclosure process mandated by the Puerto Rico

 Mortgage Act. The difference in the minimum price for the first auction is very

 significant, to the extent that it orders zero dollars to be bid in the first auction with

 respect to this case. This is equivalent to revoking and annulling the Final Judgment

 in this case of November 7, 2011, and also annulling and vacating the Resolution and

 opinion in this case of January 17, 2018, confirmed on appeal. This also seeks to

 annul the Judgment rendered by the Puerto Rico Court of Appeals in appeal

 KLCE2018-00824. We have seen that the Federal Courts lack jurisdiction to dispose

 in such a manner.

          In other words, the Federal Court, WM Capital Management, Inc. and its

 attorneys2     have    requested      this   Court    to    issue    a   Writ   for   Execution      of



 2  The attorneys for WMC who have signed motions for relief in this case K CD2009-0708 are Jairo Mellado
 Villareal-RUA 10,361, Tessie Leal-Garabis-RUA 13,096 and Hector Orejuela-RUA 19,604.
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 Judgment that is inconsistent with and contrary to the Judgment sought to be

 executed, with the actual effect of vacating the very Judgment sought to be executed.

 Even more disturbing is that the Federal Court has ordered Tenerife Real Estate

 Holdings, LLC, and the other plaintiffs therein, to show cause why they should not be

 found in contempt and impose heavy economic sanctions on the parties and their

 counsel, depriving them, outright, of all of their ownership rights to the various

 mortgages by order of said Federal Court, when the same Federal Judgment decrees

 that Tenerife is the sole owner of the Judgment in this case. The Federal Court requires

 Tenerife and the plaintiffs therein, to stipulate following a process of foreclosure that

 is contrary to the Judgment in this case of November 7, 2011, it is contrary to the

 foreclosure process mandated by the Mortgage Act, to change and eliminate the

 minimum price stipulated for the first auction, all with the actual effect of nullifying

 the Judgment in this case, which the Federal Court itself decreed WMC cannot

 demand nor is entitled (docket #288 in said Federal Case). All of this creates several

 incompatible and contradictory Judgments between them, establishes contradiction

 within the same Federal Judgment, and requires Tenerife to act in a mutually

 exclusive manner, resulting in that, no matter how it acts, Tenerife is in breach of one

 of the Judgments. Tenerife Real Estate Holdings, LLC understandably refuses to

 stipulate against the Law, against Post Judgment Due Process, against what it

 considers Public Order, and against the stipulation in this case with defendant EER-

 IPR. Tenerife faces the crossroads of conflicting judgments requiring incompatible and

 irreconcilable conduct, and illegal and physically impossible conduct.

         WM Capital Management, Inc. (WMC) in its briefs does not deny that it seeks

 from this Court Writ of Execution of Judgment which is contrary to the Judgment

 entered in this case on November 7, 2011; which is the one sought to be enforced. Nor

 does WMC deny that the process it demands to be followed, to enforce the Judgment

 in this case, deviates from the process provided by the Judgment itself and ordered by

 the Puerto Rico Mortgage Act. WMC has attempted to argue that there is no

 contradiction         between         the         Federal         Judgment           and
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 the one issued in this case but acknowledges that the minimum price for the first

 auction and the process to be followed pursuant to those two judgments are not the

 same. WMC acknowledges that its demands disregard the minimum auction price

 agreed in the deed of mortgage and ordered in the judgment of November 7, 2011, so

 much so, that it is required to bid zero money for the first foreclosure auction in this

 case. Ponce Federal Savings v. Gómez, 108 D.P.R. 585 (1979)3; WMC has not legally

 attempted to support and sustain its legal position in this regard, whereby it can be

 ordered as requested.

             This Court has deployed substantial effort to reconcile what the Federal Court

 decrees, with what this Court has sentenced and decreed on November 7, 2011 and

 January 17, 2018, for example, see Resolution of October 10, 2019 at page 7. In said

 Resolution, it was stated that the Federal Judgment is not contradictory to that set

 forth in the January 17, 2018 Resolution, that said resolution is not a Jugement, that

 what was addressed was procedural matter and that WMC's “claim” is of “the entire

 jurisdiction of the Federal Court”; also that “the resolution issued on January 17, 2018

 does not constitute an adjudication on the merits of WM Capital's claim...”. That effort

 to reconcile the various judgments and rulings did not encompass the now demands

 by WMC and its attorneys to eliminate the Minimum Auction Price and omit the

 process mandated by the Mortgage Act to foreclose on real estate property. The

 abysmal difference in process, price and contradictions transcends any possible

 rational effort at reconciliation. There is no deference that can address, resolve the

 conjuncture, protect the effectiveness of the Judgment rendered in this case and the

 exclusive, primary, In Rem jurisdiction of this Court. The Resolution of October 10,

 2019 was the subject of appea, where the Honorable Court of Appeals stated that

 certainly the Resolution of January 17, 2018 has the effect of judgment to which WMC

 is a party and, therefore, appealed KLCE2018-0824. In Appeal KLANPO19-01350,

 because                the           prior            appeal         (KLCE2018-0824)         was




 3   The Courts lack authority to modify the minimum auction price.
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 actually appeal from a Judgment called “Resolution”4, the issue of the Writ Certiorari

 on the October 10, 2019 Resolution was denied.

           Faced with the new Request for Relief in Enforcement of Judgment and Aid

 from Jurisdiction, WMC has merely requested that this Superior Court refrain from

 exercising its exclusive primary In Rem jurisdiction, to provide room for the Federal

 Court to impose sanctions, contempt and/or order depriving Tenerife and the therein

 plaintiffs of title for failing to stipulate to depart from the foreclosure process mandated

 by the Act. WMC has not enlightened this Court as to any existing doctrine, or legal

 principle, whereby the Court with Exclusive Primary In Rem Jurisdiction must abstain

 so that another Court, lacking In Rem jurisdiction, can act with respect to the thing

 under the exclusive primary In Rem jurisdiction of another Court.

           This Court is aware and has given much weight and consideration to the

 deference and comity between the Federal and State Courts, and to the operation in

 harmony and concert that is expected and required between both forums for the

 benefit of the people and the concert function of multiple governments, and the

 structural protection of rights that this generates. Also to the full faith and credit

 required of valid judgments. This Court, for years, has deployed every effort and

 deference possible. However, now there are inconsistent and contradictory judgments

 that simultaneously require Tenerife to comply with conduct that is mutually

 exclusive, contrary to the Judgment rendered in this case and contrary to the

 Mortgage Act. These facts are highly relevant to this opinion.

           For the reasons set forth in this Ruling and Opinion this Court DENIES the

 Request for Abstention filed by WMC and its counsel. For the facts and reasons set

 forth below and the conclusions of law we express, the Order, Remedies and Sanctions

 accurately identified in this Order and Order are hereby issued. The Ruling and Order

 hereby         issued         is       on         the        substantive          merits,         so        as


 4 See Doral Mortgage v. Alicea, 147 D.P.R. 862, (1999): Although the Court denied intervention in a “judgment,”
 strictly speaking we are dealing with a judgment. See: De Jesús v. Corp. Azucarera de P.R., 145 D.P.R. 899
 (1998), citing A.F.F. v. Superior Court, 93 D.P.R. 903 (1967); Bco. Santander P.R. v. Fajardo Farms Corp., 141
 D.P.R. 237 (1996); Arroyo v. Quiñones, 77 D.P.R. 513 (1954); Rodriguez v. Municipal Court and Ramos, 74
 D.P.R. 656, 664 (1953). The vehicle whereby which such judgment is reviewable on appeal. De Jesús v. Corp.
 Azucarera de P.R., ante. (Emphasis added, footnote omitted).
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 to have binding effect upon the parties to this Resolution and Order is required, because the

 doctrine of Exclusive Primary In Rem jurisdiction “is necessary for the harmonious cooperation of

 Federal and State Courts.”; paraphrased in translation from Princess Lida of Thurn and Taxis v.

 Thompson, 305 US. 456, 465-467, 59 S.Ct. 275, 280-281, 83 L.Ed. 285 (1939).

          The property subject of the mortgage is described as follows:

          ---Urban: Located in the Monacillos Ward of Río Piedras, with an area
          of 10,986.903 square meters. With bounds by the NORTH with the
          parcel adjudicated to Luis Llorens Torres and Mercedes De La Torre;
          by the SOUTH with the San Patricio road; by the EAST with Luis Torres
          and by the WEST with the San Juan to Bayamón Highway, Puerto
          Rico, today State Highway Number Two (2).

          ---This description corresponds to the remainder of this property after
          segregations.

          ---Recorded in Folio 123, of Volume 785, Third Section of San Juan,
          Property number 13,936.

          ---The physical address of the property is the following: Lot. CM, East
          Marginal, John F. Kennedy Expressway, Bechara Industrial Park,
          Barrio Monacillos, San Juan, Puerto Rico.

          Tenerife Real Estate Holdings, LLC has again requested Relief in Enforcement of

 Judgment and in aid of the Exclusive, Primary, In Rem Jurisdiction that this Court has in

 this case. Foreclosure is an In Rem proceeding, directly against the thing and erga homnes.

 See First Fed. Savs. v. Nazario et als., 138 DPR 872, 879 (1995), C.R.U.V. v. Torres Pérez,

 111 D.P.R. 698, 699 (1981); P.R. Prod. Credit Assoc. v. Registrador, 123 D.P.R 231 (1989),

 Donovan v. City of Dallas, 377 U.S. 408, 412, 84 S.Ct. 1579, 12 L.Ed.2d 409 (1964).

          The right of mortgage is a property right. The Court agrees that it has already

 afforded ample space and deference to the Federal Court to dispose of the case before

 it, pursuant to its Federal jurisdiction, the Court having already rendered its Final

 Judgment and having gone through the process of appeals, all that remains is to enforce

 the Federal Judgment, the one entered in this case, and the one entered in case K

 CD2011-0142, but in view of the contradictions, the requirements of law and the post

 judgment                  due                 process5,                 and                 considering




 5 See R&G v. Sustache, 163 D.P.R. 491, (2004), which provides:
 "As we have repeatedly stated, once post-judgment judicial remedies are enshrined in a statute, they become
 part of due process of law, procedurally speaking. Dr. Dominguez Hosp.,
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 the Exclusive Primary In Rem Jurisdiction that this Court has, the remedies requested by

 Tenerife are granted.

          To explain and illustrate, especially to every Court and those on appeal, the

 factual and legal grounds are expressed, the findings of fact are established for the

 record, the evidence, and the applicable substantive and procedural law are

 formulated. This is also necessary to place the Courts on appeal in a position to

 perform their revisory function in a complete manner, thus protecting the rights of all

 parties and the public interest in the constitutional function we perform. This in

 special consideration to the deference that the federal jurisdiction requires, deserves

 and the present situation demands, maintaining the balance of operation in concert

 of governments, Courts, and constitutions that coexist and operate simultaneously

 over the population. This Court is mindful of the constitutional role among the various

 governments, the role that each part of each government has in the dissemination of

 power and jurisdiction over the land, and over the various aspects of each government.

 That is, the atomization of power as the guardian of liberty, manifested in the

 distribution of jurisdiction. This ruling is entered within the limits that this Court has

 been assigned in that distribution.

                                           FINDINGS OF FACT

          1. This case was initiated on February 25, 2009, in request for foreclosure of a real

               estate mortgage duly recorded in the Registry of the Property. The mortgage subject

               to foreclosure is of first rank in the Registry of the Property. Said mortgage secures

               a mortgage note dated July 18, 1989, for a face value of $2,635,000.00. The

               encumbered property has already been described in this Resolution and Order.

          2. By stipulation between the then parties to this case, plaintiff and

               defendant, on November 7, 2011, Judgment was entered ordering the

               foreclosure and the process to follow. It provided for the sale in public

               auction                of              the               mortgaged                  property,



  Inc. v. Ryder, 161 D.P.R. 341 (2004); Falcón Padilla v. Maldonado Quirós, 138 D.P.R. 983 (1995); Arroyo Moret
  v. F.S.E., 113 D.P.R. 379 (1982); Berrios v. Mining Commission, 102 D.P.R. 228 (1974).” (Emphasis added).
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          recognizes and establishes the minimum price for the first auction at

          $2,635,000.00. Said Judgment has been final and binding since 2011.

          That Judgment is on the substantive merits of the right of the parties and

          is binding on the parties to that judgment, and weighs directly on the real

          property, In Rem. Judicial Record.

       3. Mr. Francisco Almeida acquired by purchase the rights of the initial

          mortgagee, which was General Motors Acceptance Corporation (GMAC).

          Francisco Almeida Leon was substituted as plaintiff in this case and was

          listed as plaintiff until 2018.

       4. On July 28, 2014, an “Assignment For Payment” Agreement was signed

          between the Federal Deposit Insurance Corporation (FDIC) of one party and

          Mr. Juan Almeida León as sole debtor of the FDIC by Partial Judgment

          dated September 26, 2013.

       5. The Federal Judgment rendered in FDIC v. Juan Almeida León and Emérito

          Estrada Rivera-Isuzu de Puerto Rico (EER-IPR) case 12-2025 before the

          Federal Court, was exclusively against Juan Almeida León. Said Judgment

          is regarding the collection of money, execution of pledge and mortgage, of

          three other mortgage notes issued by EER-IPR, two for the principal

          amount of $1,350,000.00 each, and the third for $270,000.00, issued

          respectively on April 17, 2007 under affidavit 114, 115, and 116 before

          notary public Manuel Rivera Meléndez, copy of which was submitted to

          the Federal Court in the process of case 12-1225. Pages 171 to 179 of the

          appendix of WM Capital's Opposition to Joinder to case K CD2009-0708.

          The Judgment in that case is only against Juan Almeida León, it does not

          provide for foreclosure, there is no additional judgment in that case, it does

          not provide for finality. Id. at 179.

       6. The July 28, 2014, contract was captioned Assignment to Satisfy Judgment

          and Assignment of Mortgage Notes; it is part of the court file at page 180

          of        the         appendix          to       the        motion          of
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           December 13, 2017 in Opposition to Joinder of WM Capital as a party to

           this case. Agreement For Payment. Pursuant to said agreement, the parties

           stipulated to several matters and facts, which are essentially not in

           dispute. They present a clear picture and account of what happened that

           is relevant and necessary to know in order to properly dispose of the

           substantive issue before us. We identify several of the issues and facts that

           the parties stipulated; for the reader's reference, reference is made to the

           contractual paragraph where it is set forth, again the contract is located

           at page 180 of the identified appendix.

           A. Identifies and defines Juan Almeida León as Borrower (“Debtor”),

               against whom judgment was rendered in federal case 12-2025, on

               September    26,   2013   condemning     him    to   pay   the   sum    of

               $2,828,850.11. Page 1, paragraphs 1.1, 2.1 and 2.2.

           B. Signatories to said contract of July 28, 2014 were also Francisco

               Almeida León, his wife Wanda Cruz Quiles who were referred to as

               Co-holders translated as “Cotenedores”, and plaintiff in this case

               Tenerife Real Estate Holdings, LLC. referred to as Tenerife. P. 1,

               paragraph 1.1. Tenerife, Francisco Almeida nor Wanda Cruz are

               debtors of money to WM Capital. They signed only as noteholders

               and owners of the Judgments in K CD2009-0708 and K CD2011-

               0142.

           C. The FDIC requested from the Federal Court, and on May 28, 2014

               obtained an injunction against Francisco Almeida León stopping the

               public foreclosure auction in case K CD2011-0142. The FDIC alleged

               that said auction would be in fraud of creditors, because it argued that

               Juan Almeida León is the owner of 50% joint community three
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              mortgage notes being foreclosed in said case. P. 1 and 2, paragraph

              2.3.

           D. The three mortgage notes subject to foreclosure in case K CD2011-

              0142 were referred to as “The Kennedy Notes” and are as follows: a)

              promissory note in the principal amount of $1,365,000.00 issued on

              December 12, 1997, under affidavit 30,376 and payable to bearer; b)

              promissory note in the principal amount of $500,000. 00 subscribed

              by Emérito Estrada Rivera Isuzu Puerto Rico (EER-IPR) dated

              November 6, 1998 issued under affidavit 3,166; and c) mortgage

              promissory note for the principal amount of $2,000,000.00 issued on

              September 3, 2003 under affidavit 9,322. Page 2, footnote 1.

           E. Tenerife is the owner of the $2,635,000.00 face value promissory note

              issued on July 8, 1989, and of Judgment in case K CD2009-0708 for

              the principal amount of $2,221,245.93, said note is called the “GMAC

              Note”, because Mr. Francisco Almeida acquired it from General Motors

              Acceptance Corporation (GMAC), who transferred it to Tenerife who is

              the plaintiff in this case. Record of this case, and p. 3, paragraph 2.5.

           F. The parties identified “assignment for payment” of a joint community

              interest in mortgage notes and the judgments rendered in cases

              KСD2009-0708 and K CD2011-0142, and that the four notes would

              be consigned to the Superior Court of Puerto Rico p. 3, paragraph

              3.1.2;

           G. To evidence the interest assigned to the FDIC in the assigned “Kennedy

              Notes” for payment, it was agreed to immediately file in that case, K

              CD2011-0142 (referenced by exhibit), stipulation to include the

              Assignee for payment, then the FDIC, as co-plaintiff in that case and

              to proceed as soon as possible to the public auction in that case.

              Nothing similar was stipulated with respect to this case K CD2009-

              0708.
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           H. It was agreed that the minimum price for the first and only bidding

                shall be $3,850,000.00 (the parties agreed to bid the credit), which is

                the exact same minimum price for the first auction pursuant to the

                Judgment rendered in case K CD2011-0142 in October 2011. P. 5,

                paragraph 3.1.6. nothing is mentioned in the contract about auction

                in this case or about this case.

           I.   Regarding the auction process itself, the parties agreed that the co-

                holders and the FDIC would jointly bid the minimum price for the first

                auction, and would acquire title by becoming owners of the Kennedy

                property. Page 5 paragraph 3.1.8.1. co-holders is a defined term that

                excludes Tenerife.

           J. The parties agreed on the methodology for the co-holders and the FDIC

                to sell the title to the property that the co-holders and the FDIC acquire

                at auction, Tenerife is not mentioned. P. 6 paragraph 3.1.8.3. The co-

                holders and the FDIC agreed to maintain co-ownership or community

                for twelve months, then they can demand its termination. Nothing is

                mentioned about Tenerife.

           K. When and if the FDIC is paid, the FDIC will: i. Release and deliver to the

                borrower and the co-holders the other mortgage notes for which it sued

                to obtain judgment against Juan Almeida León; ii. Assign to the

                borrower and the co-holders any money on rents received, and iii. Assign

                to the borrower and the co-holders any promissory notes and judgments

                encumbering the Kennedy property; P. 8 para. 3.1.9. Nothing adduced

                or mentioned to Tenerife.

           L. The FDIC agreed that it is conducting a phase I environmental study

                of the property, and will complete it as soon as possible, and that if

                upon completion of said study it is determined that the result is

                unsatisfactory, it may terminate the contract. The auction will not take

                place                              until                            such
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                phase I environmental study has been completed, or the FDIC gives its

                written consent. Page 9 paragraph 3.2.

            M. General clauses on authorization, applicable law, and separate

                signatures were established in the remainder of the contract.

     7. The joint motion was promptly filed in case K CD2011-0708, nothing was filed

        in this case.

     8. Once the assignment agreement was signed, Mr. Francisco Almeida León

        repeatedly requested the assignee to proceed with the sale at public auction,

        which was agreed to be carried out as soon as possible. Deposition of Mr.

        James Barr, located at pages 16 to 95 of the appendix to the December 13,

        2017 Motion, in Opposition to Joinder of WM Capital as a party to this case.

        Pages 56, and 310 to 316 of said appendix.

     9. The Environmental Study Report obtained by the FDIC is dated July 16 and

        22, 2014, that is, several days before the July 28, 2014 agreement was signed.

        It concludes on page 15 that there is no threat to the environment (per

        previous study of 2007). The environmental inspection was carried out on July

        14, 2014, together with Liza Delgado (page 17). The inspection of July 14, 2014

        reported that no significant risk of environmental contamination was found

        Pp. 17 and 18, and Executive Summary. Pages 196 et seq. of the appendix to

        the motion of December 13, 2017.

     10. The FDIC and its counsel repeatedly demanded that Tenerife waive its first

        mortgage and judgment in this case, this as a condition to proceed with the

        public auction in execution of judgment and thus comply with the assignment

        for payment. See Resolution of January 17, 2018 in this case, affirmed on

        appeal KLCE2018-0824; WM Capital admissions in oral deposition pages 74

        and 77-79 (December 13, 2017 Appendix pp. 89, and 92-94). July 9, 2021

        motion appendix pp. 138-139; 292-293 entries for January 16, 2015 and
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        February 6, 2016, subsection 4, Page 86 -87 lines 21 through 5; Page 108-109

        lines 19 through 3.

     11. In December 2015, the FDIC, by Loan Sale Agreement sold to WM Capital

        Management, Inc. (appendix December 13, 2017, pages 114 to 117), the sale

        price for the credit and rights under the Assignment for payment of 50% in

        joint community of notes and judgment was $92,840.71 (App.p. 48-50, 59

        Appendix to the July 9, 2021 Request for Relief in Enforcement of Judgment,

        and Exhibit 108-1- p. 9 in federal case 16-01394).

     12. By letter dated January 14, 2016 Francisco Almeida advised and declared the

        assignee in default, but chose specific performance of the contract. In response

        Mr. Jairo Mellado informed that the assignee FDIC sold the rights under the

        contract of July 28, 2014. (Page 114 of the appendix to the motion of July 9,

        2021). Immediately on January 15, 2016 (id p. 136) Almeida informed that it

        exercised the commonholder’s right of first refusal. On January 22, 2016, a

        suit was filed in commonholder’s right of first refusal, case K AC2016-027,

        and a substantial bond was posted, and a declaration of breach of contract by

        the assignee, then WMC, was requested. See p. 1-8 judicial notice, (Right of

        First Refusal Complaint, which includes affidavit), in appendix to the Request

        for Remedy in Enforcement Judgment of July 9, 2021.

     13. WMC removed the case to Federal Court alleging diversity of citizenship and

        the case was docketed in Federal Court as case number 16-01394. Jury Trial

        Demanded. It is in said case that a Judgment has been issued contradictory

        to the Judgment issued in the present case. As stated at the beginning of this

        order, this Federal Judgment orders that in this case the auction be for zero

        dollars, with which WMC is actually requesting the cancellation of the

        mortgage subject to foreclosure in this case and the judgment rendered in this

        case; to the detriment of EER-IPR. Judicial record.
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     14. The mortgaged property located on Kennedy Avenue was appraised in the

        amount of $8,130,000.00 as of August 14, 2014. Appendix of December 13,

        2017 page 372.

     15. On May 26, 2016, a hearing was held in case K CD2011-0142, at which

        Francisco Almeida León appeared personally and through counsel, and WM

        Capital through counsel. There it was stipulated to proceed with the auction

        in said case, and it is so recorded in the minutes (page 13 of the appendix to

        Request in Enforcement of Judgment of July 9, 2021). Upon drafting the

        stipulation WM Capital again demanded that Tenerife's first mortgage be

        cancelled as a condition to proceeding with the public auction sale in case K

        CD2011-0142. Tenerife on July 1, 2016 by letter, advised WM Сapital of

        breach of contract, demanded performance and found in default, having

        chosen to terminate the agreement of July 28, 2014. Appendix of December

        13, 2017, pp. 366-367, Judicial Knowledge.

     16. On August 31, 2017 Francisco Almeida, Wanda Cruz and their attorney

        Edilberto Berrios Pérez, sent letter to WM Capital and its attorneys Jairo

        Mellado Villareal and Tessie Leal, responding to the cancellation demands,

        alluded to the pattern of fraud and illegal appropriation in which WMC has

        incurred by persistently demanding the cancellation of the first mortgage to

        be executed in this case K CD2009-0142, as a condition to proceed with and

        not hinder the execution of the judgment and conduct the public auction in

        case K CD2011-0142. Said letter was attached by an extensive appendix

        correlated to the facts argued. Pages 400 to 423 of the July 2021 Motion in

        Request for Enforcement of Judgment, the document speaks for itself.

     17. On August 17, 2017 WM Capital, as a matter of law, moved to be joined

        as a party plaintiff in this case, as a matter of law. On December 14,

        2017 (Hurricane Maria stalled terms) Tenerife filed opposition, argued

        to                    the                      pattern                      of
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        conduct displayed by WM Capital and its attorneys, demanding to cancel the

        first mortgage on the property, the one foreclosed in this case. This Court, after

        giving the parties to said motion broad opportunity to present evidence to the

        record, which each did, adjudicated on the substantive and procedural merits

        necessary to adjudicate WM Capital's entitlement to the requested joinder. By

        Resolution dated January 17, 2018, this Court determined the facts contained

        in that Resolution, and ruled on the correctness, in fact and in law, of the

        finding of default and termination of agreement made by Tenerife to WM

        Capital on July 1, 2016.

     18. WM Cарital requested reconsideration of the resolution of January 17, 2018.

        This Court appointed and conducted an in person hearing, at which the

        parties had the opportunity to present evidence. No party to the incident,

        including WMC, and EER-IPR, presented any evidence. This Court denied the

        Reconsideration.

     19. The January 17, 2018 decision was one on the substantive merits of the

        parties' rights (becasue WMC sought rightful intervention) and is binding on

        WM Capital, Tenerife and this Court; all the more so as it was affirmed on

        appeal, in KLCE2018-0824, and the mandate remanded to this Court; this

        pursuant to the ruling in Doral Mortgage v. Alicea, supra.

     20. The opinion of this Court of January 17, 2018, among other things declares

        and decrees the following:

            a. WMC has no right to demand the cancellation of the mortgage or the

                Judgment rendered in this case, neither as a condition to proceed with

                the sale at public auction agreed in the assignment for payment

                agreement of July 28, 2014;

            b. WMC admitted in oral deposition that it has demanded the

                cancellation of mortgage and Judgment issued in this case, in order

                not to hinder the auction in case K CD2011-0142;
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            c.   Nothing in the agreement of July 28, 2014 provides for Tenerife to

                 cancel and waive its rights to the million-dollar credit, mortgage and

                 judgment in this case.” Page 3 of the January 17, 2018 Resolution.

            d. WMC was properly interpleaded by Tenerife, declared in default and

                 the July 28, 2014 agreement properly terminated by Tenerife, thus

                 WMC lacks the rights it invokes.

            e.   that determining Tenerife's substantive rights is essential to award the

                 intervention/joinder that WMC rightfully requested.

            f.   that Resolution was issued on the substantive merits of the parties'

                 right, and decrees that WM Capital is not entitled to be a party to

                 participate in this case, among other reasons due to its repeated willful

                 default, willful misfeasance, and the termination of the July 1, 2016

                 agreement. Canales v. Pan American, 112 D.P.R. 329, 340 (1982),

                 Constructora Bauzá v. García 129 D.P.R. 579 (1991); Flores v.

                 Municipality of Caguas, 114 D.P.R. 521 (1983); González Aristud v.

                 Hospital, 168 D.P.R. 127 (2006), Sucesión Escalera v. Barreto, 81 D.

                 P.R. 596 (1959), and Soriano Tavarez v. Rivera 108 D.P.R. 663, 670-

                 671 (1979) (both strands), Civil Code of Puerto Rico of 2020 article 18;

                 Resolution of the Court of Appeals of June 30, 2020, in appeal

                 KLAN201901350.

     21. WM Саpital appealed from the Resolution of January 17, 2018, which denied

        its request for rightful intervention or joinder, appeal KLCE2018-00824, The

        Court of Appeals affirmed the ruling of January 17, 2018. Afterwards in appeal

        KLAN201901350 (on related incident, infra), the Court of Appeals recognized

        that appeal KLCE2018-00824 was an appeal, because the ruling has the effect

        of a judgment, it is binding, citing Doral Mortgage v. Alicea, supra.
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      22. In May 2018 (docket 123) Tenerife and the plaintiffs in Federal case requested

           the Federal Court to abstain in the Federal case, among other reasons,

           because Exclusive Primary In Rem Jurisdiction is held by the Puerto Rico

           Court, in this case. It was argued to, and that Court was enlightened as to the

           Exclusive Primary In Rem Jurisdiction of this Superior Court in this case,

           invoked the Colorado River6 type abstention as well as the precedent on

           exclusive primary In Rem jurisdiction recognized in the landmark case Princess

           Lida of Thurn and Taxis v. Thompson 305 U.S. 456, 465-467, 59 S.Ct. 275, 83

           L.Ed. 285 (1939). The federal court declined to abstain.

      23. Parallel in time, the Federal Court, in case 16-1394, issued Partial Judgments

           in which it disposed as follows:

           a. Dockets #56 and 57, the 50% joint community interest of the rights by

                assignment for payment, is not a community interest to which the common

                holder’s right of first refusal applies and cites and rejects Ortiz Roberts v.

                Ortiz Roberts 103 D.P.R. 628, (1975) (beneficiaries of a trust are

                community members to which the common holder’s right of first refusal

                applies...) July 9, 2021, Motion Pages 15-30.

           b. Docket 105, stated that the causation for the delay in holding the auction

                is not as stated by James Barr Coleman in his deposition, but was due to

                the superior court's delay in including WMC as a party in case K CD2011-

                0142; that obtaining the environmental study had nothing to do with it, to

                this day there is no phase II environmental study, the Federal Court

                dismissed the lawsuit filed by plaintiffs Almeida and Cruz claiming default

                by WMC; Pages 265-271 of the appendix to the July 9, 2021 motion.

           c.   Dockets 269, 269-1 and 269-2; these are the draft of Judgment, stipulation

                and             orders            that            WMC              submitted              for




  6 Colorado River Water Conservation District v. United States, 424 U.S. 800, 96 S.Ct. 1236, 47 L.Ed.2d 483
  (1976); Moses H. Cone Mem. Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 103 S.Ct. 927, 74 L.Ed.2d 765 (1983).
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             adoption/affirmance by the Federal Court. WMC proposed to order to

             cancel the mortgage and Judgment in this case K CD2009-0142. Pages

             299 to 320 of the appendix to the July 9, 2021 motion.

        d. Docket 288, Federal Court decree declaring that the Draft Judgment

             submitted by WMC exceeds the rights, claim and pleadings WMC has filed;

             Page 325- “Scope of Order of the appendix to the July 9, 2021 motion.

        e.   Dockets 289 and 290; Final Judgment ordering the sale of the mortgaged

             property estate number 13,936, by consolidated public auction at which

             the four mortgages referring to cases K CD2011-01342 and K CD2009-

             0708 will be foreclosed jointly, and the minimum auction price will be

             $3,850,000.00, which is the minimum auction price of the three mortgage

             notes being foreclosed in case K CD2011-0142. Pages 337-338 subsection

             3 of the appendix to the July 9, 2021 Motion.

     24. None of the Partial Judgments rendered by the Federal Court in case 16-01394

        states that what is decided therein is severable from the rest of the

        controversies in the case, only the Final Judgment in dockets 288 and 290 in

        June 2019 causes the finality of all the Final Judgments as one. What is

        decided in each of the partial judgments is not separable from what is decided

        in all, which is necessary to adjudicate in order to determine whether or not

        to grant relief.

     25. On June 19, 2019 Tenerife in this Court filed Motion Requesting

        Provisional Remedy in Enforcement of Judgment. At the time, it was

        imminent that the Federal Court would issue its Final Judgment, given

        that WMC's draft judgment was already submitted and contradictory

        judgments were threatened. See attachments to this motion. This Court

        did not issue any order, thus de facto abstaining temporarily, in order to

        provide             the            Federal             Court                 with
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           deference and space to deploy its jurisdiction. This was further stated in this

           Court's Resolution of October 10, 2019, which was subject of appeal, as

           explained above.

      26. The Federal Court of Appeals for the First Circuit affirmed the Judgment of

           the District Court. See Appeal 19-1766; 993 F3d 1 (USCA 1st, 2021).

      27. The Federal District Court appointed Ms. Dora Monserrate Peñagaricano7 to

           sign, on behalf of Tenerife Real Estate Holdings, LLC, Mr. and Mrs. Almeida

           Cruz, and Mr. Juan Almeida León, the stipulation that she deemed proper to

           comply with the Federal Judgment, auctioning the property in execution of

           four mortgages for the minimum price of three, and that a writ of execution be

           issued pursuant to the Judgment of the Federal Court; but contrary to the

           judgments issued in the cases K CD2011-0142 and K CD2009-0708. Joint

           Motion of March 29, 2021, so admitted by WMC; and requested by WMC and

           Ms. Monserrate.

      28. WMC, and Ms. Dora Monserrate, without communicating or consulting with

           Tenerife or the Almeida Cruz spouses, or Juan Almeida, signed on behalf of

           Tenerife, Juan Almeida and the Almeida Cruz spouses, the document whereby

           they stipulate and request the peculiar process of foreclosure, and filed it in

           this case. It is called Joint Motion, it is dated March 29, 2021, and it is

           attached to the Assignment Agreement, of docket 290, which is part of the

           Federal Judgment, the draft Order and the draft Writ of Mandate. Both the

           Draft Order and the Writ of Mandate included provisions to:

                a. simultaneously foreclose the mortgaged property through the four

                     mortgages that are the subject of judgment in cases K CD209-0708

                     and K CD2011-0142, (page 2).




  7 Who represented herself before the Federal Court as having vast experience in the foreclosure process under
  the laws of Puerto Rico. Data and experience that the Court considered in a particular way.
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                 b. that the first and only auction will have the price of $3,850,000.00 for

                      the four mortgages, which minimum prices per judgment total

                      $6,215,000.00, page 2 of the proposed Order; (as a result, the amount

                      to be credited to the Judgments against EER-IPR is proposed to be

                      lower      than     the    minimum         auction      price     in    the    amount       of

                      $2,365,000.00, which is exactly the minimum price for the first

                      auction for the judgment in this case). EER-IPR did not appear to such

                      joint stipulation. Tenerife pointed out Article 270 of the Puerto Rico

                      Civil Code of 2020, on Lawful Purpose8, which provides that the

                      purpose of harming third parties is not lawful.

                 c.   No additional auctions shall be held for lesser price, Page 2 of the draft

                      Order,

                 d. d.) Order the Sheriff to execute the deed of judicial sale; Page 3, omit

                      the process of the Court affirming the auction;

                 e.   Order the cancellation of the three promissory notes enforced in case

                      K CD2011-0142 and the Tenerife note executed by the Judgment

                      entered in this case, Page 3 of the draft Order, and any subsequent

                      liens; Page 3, fifth paragraph of the draft Order.

                 f.   Provide to foreclose other assets of the mortgagor, and if the proceeds

                      are insufficient to satisfy the Plaintiff's Judgment (does not identify

                      who or who or which judgments in which cases), Page 3. Judicial

                      record of this case.

       29. The signature of Ms. Monserrate has not been questioned by Tenerife or any

            person whatsoever, that signature was received by this Court as if the

            document had been signed by Tenerife itself and the persons identified therein.




  8 Article 270.-Lawful purpose.
  The legal transaction must have a lawful purpose in view of the circumstances existing at the time of its
  execution and at the time of its execution. An end contrary to the law, morality or public order, or prejudicial to
  the rights of third parties, is not lawful.
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      30. Tenerife, personally and through counsel, filed in this Superior Court a motion

          informing and stating several of the illegalities that it understands are

          contained in the Joint Motion, and its attachments, which include the draft

          Order and Writ of Execution. This Motion filed on April 16, 2021, is entitled

          “Motion Informing Illegalities and Excesses”. In it, Tenerife points out the

          rigorous statutory requirements for the process of foreclosure of real estate

          mortgage, its nature of public order, the lack of authority in the Courts to

          avoid or omit said process post judgment and the effective result of the

          peculiar proposed and required process of foreclosure, is to annul the

          judgment issued in this case, as well as the mortgage that is executed by the

          same. R&G v. Sustache 163 DPR 491(2004) Due Process governs post

          judgment, and León v. Rest El Tropical 154 DPR 249 (2001) once the Judgment

          rendered becomes final and binding, the Court lacks jurisdiction to modify it.

          Tenerife emphasized in paragraph 16 that the Writ of Execution of Judgment

  demanded by WM Capital and Dora Monserrate, which it signed on behalf of Tenerife

  and others, is contrary to the provisions of the Judgment to be executed. Tenerife

  invoked Rule 51.2 of Civil Procedure; Ponce Federal v, Gómez 108 DPR 585 (1979),

  (Courts cannot change the minimum auction price) among other sources of law.

          Tenerife pointed out what was decided by this Court in the Resolution of

  January 17, 2018, which denied WM Capital's right to be a party to the case, although

  it is a party to said Resolution, and stated that WM Capital lacks the right and standing

  to demand that the judgment in this case be annulled, and the Federal Court lacks

  the authority to cancel the previous judgment (January 7, 2011) of Puerto Rico.

  Tenerife emphasized that the Federal Judgment in its part that is docket 288,

  expressly stated that WM Capital has no right nor can it request that the Judgment

  rendered in this case be annulled, nor the mortgage that belongs to Tenerife. Motion

  dated July 9, 2021 pages 2-5, and sources cited therein, including docket 288

  (appendix        to       that        motion        pages        325-326         -Scope
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  of Order -.” WM's proposed order exceeds its claim of relief in this lawsuit...”, where

  said Federal Court expressly stated that WMC cannot demand the cancellation of the

  mortgage or the judgment in this case; but simultaneously orders a consolidated

  auction for the two cases before the courts of Puerto Rico and that in that single joint

  auction, zero money be bid for the judgment in this case and that Tenerife's mortgage

  be cancelled. In other words, the Federal Judgment is also contradictory within itself,

  because it orders a process to be followed that causes the very result that the Federal

  Judgment says cannot be demanded, obtained or conferred. That is; the first mortgage

  and judgment in this case be cancelled (Pages. 325 to 326 of the appendix to that

  motion of July 9, 2021, as compared to the draft Judgment at page 315 “...the first

  ranked mortgage note encumbering the same property ('GMAC note') will be cancelled.”),

  relief that was denied by the Federal Court in verb and text, but granted in process

  and result.

            Tenerife, in its motion, presented jurisdictional and constitutional grounds

  why it is not feasible or valid to grant the relief that WM Capital requests in the Joint

  Stipulation, including Exclusive Primary In Rem Jurisdiction of this Court, absence of

  jurisdiction of the Federal Court to annul or modify the Judgment rendered by this

  Court (entirely based on Puerto Rico Law); the Anti Injunction Act, and constitutional

  structural rights on dissemination of power among governments, branches,

  departments, judges and officials, among others.

        31. On May 25, 2021, this Court denied the Joint Motion and the peculiar auction

             process created by WMC, endorsed by attorney Monserrate on behalf of

             Tenerife, Juan Almeida and the Almeida Cruz spouses, a process that the

             Federal Judgment in case 16-01394 provides in part.

       32. Later, WMC again appealed to the Federal Court, requested injunction against

            this                Superior                  Court9,                  among                   other




  9 See Atlantic Coast v. Locomotive Engineers, 398 US 281, 287, (1970), injunction against a party to a case from
  prosecuting the case or enforcing the judgment, is injunction against the Court where the case is heard and/or
  the judgment is rendered.
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        remedies, (docket 416 entitled Motion Requesting Permanent Injunction, filed

        on April 21, 2021).

     33. The Federal Court ordered WMC to return to the Puerto Rico courts and file all

        documents to convince the Puerto Rico courts of the correctness of complying

        with WMC's demands and the Federal Court's judgment, (docket 421) pages

        372 to 373 of the July 9, 2021 Motion appendix.

     34. WMC filed a Request for Reconsideration with this Court, however, Dora

        Monserrate did not sign the document, nor has she re-signed or re-filed any

        document in this case. See: Request for Reconsideration dated April 30, 2021.

     35. Tenerife replied by motion filed on June 5, 2021. The reconsideration was

        denied.

     36. WMC did not appeal to the Court of Appeals regarding its peculiar to foreclose

        mortgages, different from what is mandated by the Mortgage Act and the

        substantive law in force. The denial of the peculiar foreclosure process

        demanded by WMC, to foreclose the mortgage in this case by bidding zero

        dollars, and canceling mortgages and Judgment, binds WMC and its attorneys.

        Judicial record of this case. [sic]

     37. WMC and its attorneys, instead of filing an appeal in the Puerto Rico Courts,

        filed a motion in the Federal Court for sanctions against the parties and the

        attorneys, to hold them in contempt, and to issue a permanent injunction

        against them and this Superior Court to compel this Court to disregard its

        own judgment, to issue an order and injunction contrary to the Final

        Judgment, all as ordered by the Federal Court. Dockets 416, 421, 423-1, 424,

        448, 450, 454-1.

     38. Tenerife, Juan Almeida and the Almeida-Cruz spouses responded to the Order

        to Show Cause and request for sanctions, injunction, contempt and forfeiture

        of property and rights. Tenerife enlightened the federal court on the procedure

        to foreclose a mortgage in Puerto Rico, the contradictions between the Federal

        Judgment                       and                 prior                  state
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            judgments in foreclosure, the nature of post-judgment due process contained in the

            Mortgage Act, the absence of Federal jurisdiction to amend Puerto Rico judgments

            entered prior to the federal judgment, and the lack of Federal jurisdiction to amend

            Puerto Rico judgments entered prior to the federal judgment. judgment rendered prior

            to federal judgment, docket 424 (arguing Fraud against Tenerife, and requesting

            investigation), docket 429 (lack of Federal jurisdiction to amend State Judgment...),

            Pages 424; 449; 449; 449; 449; 449; 449; 449; 449. ), Pages 424; 449-1 of appendix

            to Motion of July 9, 2021(explains the contradiction in the Federal Judgment with the

            State Judgment in this case K CD2009-0708, and the absence of Federal jurisdiction

            for it) Page 480 of appendix to motion of July 9, 2021 and docket 453 (Opposition to

            new Federal Judgment this time depriving Tenerife of property rights for failing to

            comply with the judgment rendered in this case on November 7, 2011) Pages 523 of

            appendix to motion of July 9, 2021; docket 460 (Reply docket 454-1, argues that a

            fourth or fifth contradictory judgment is not possible.) Page 544 of the appendix to the

            July 9, 2021 motion. Examining these documents, what has been stated to the

            Federal Court has been done in a clear, lucid and reasoned manner.

       39. Following the filing of motions seeking sanctions for failure to “consent”10 to the

            peculiar process of enforcement of the Federal Judgment in violation of the state

            judgments, WMC asked the Federal Court for an oral hearing. The Federal Court did

            not schedule an oral hearing, but issued three orders (one modified twice), ordering

            Tenerife and plaintiffs therein to show cause why they should not be found in

            contempt. In those orders, the court itself states, repeats and reiterates warnings,

            threats, uses strong language questionable to judicial decorum, to Tenerife, the

            plaintiffs and their attorneys, for not directly signing and consenting again to what

            WMC               and             its          attorneys              unilaterally             demand


  10 Tenerife correctly states that the consent of the adverse party is not required to enforce a judgment. This
  raises several questions as to what was actually sought.
  Tenerife signed the stipulation, and did so through the designated attorney Dora Monserrate. This Court gave
  full and complete validity to the signature of Dora Monserrate as if it had been signed by Tenerife himself, as
  provided in the federal judgment. Therefore, the requirement to sign the stipulation in order to enforce the federal
  judgment, although not necessary, was complied with. The grounds on which the Joint Stipulation was denied
  is because of what is requested, not because it was signed by Dora Monserrate Peñagaricano on behalf of
  Tenerife.
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        to be signed. See dockets 462, 463, and 464, at Pages 551 to 597 of the July

        9, 2021 motion appendix. It highlights the tone and language used by the

        Federal Court towards the parties and counsel in ordering to show cause. It

        also highlights that the judgment issued by the Federal Court contradicts two

        state judgments dating back to 2011, it is contradictory in itself, in effect, it

        intends to annul previous state judgments based exclusively on Puerto Rico

        law. Nothing was done or mentioned by the Federal Court about the

        contradictions in the rulings.

     40. Tenerife, Juan Almeida, Francisco Almeida and his wife, filed Motion in

        Compliance with Order, docket 465, Page 584 of the appendix to motion of

        July 9, 2021) where they explained to the Federal Court the steps taken to

        comply with the Order and Judgment of the Federal Court which is categorized

        as an injunction against Tenerife to sign some stipulation, of unspecified

        content, to comply with the federal judgment, which is to execute the

        Judgment in this and another case (K CD2011-0142) in terms different from

        what is provided for in the judgment in this and that case. Nothing was done

        or mentioned by the Federal Court about the contradictions in the judgments.

     41. Tenerife, Juan Almeida, Francisco Almeida and Mrs. Wanda Cruz, inform

        having exhausted all means of communication with the Federal Court,

        having explained and illustrated the impossibility for the Federal Court to

        revoke, annul, modify or ignore the Judgment issued in this case in

        November 2011, and the opinion of January 17, 2018, the obligation and

        constitutional and statutory right for the Full Faith and Credit that must be

        given to a previous judgment of the Courts of Puerto Rico, such as the one

        issued in this case on November 7, 2011. Despite this, the court referred to

        Tenerife's illustration and memorials of law as incomprehensible, and as

        reported by WMC nonsensical, the word repeated by the Federal Court is

        Gibberish (dockets 424, 429, 449-1, 453, and 460). The Federal Court

        reported    and     stated       that   it   does    not     understand      the
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        rigorous process of public auction and minimum auction price to foreclose and

        that it is part of the due process of law. Dora Monserrate, represented herself

        to the Federal Court as an expert in Puerto Rico Mortgage Act, and signed on

        behalf of Tenerife, Juan Almeida Francisco Almeida and Wanda Cruz the

        motion that this Court denied on April 13, 2021 (Pages 376-377 of appendix

        to motion of July 9, 2021). Ms. Monserrate has not signed any document in

        this case.

                Tenerife requested the Federal Court to certify the questions to the

        Supreme Court of Puerto Rico, and in the alternative to issue the requested

        injunction against the State Court, advising that the Federal Court lacks

        jurisdiction to do so. Tenerife reports that it did so by actually requesting it,

        and as a demonstration that what WMC and the Federal Court threatens is

        simply improper, null and void and unconstitutional. See motion of July 9,

        2021. The Federal Court was advises that its Judgment and Order creates an

        unnecessary interjurisdictional and constitutional clash.

     42. On July 23, 2021 WM Capital moved this Court to abstain from acting to

        enforce the effectiveness of its judgment and its Exclusive Primary In Rem

        Jurisdiction; WMC, in its 10-page brief, cited no source of law by which

        abstention would be proper at this time, and efforts to vacate the judgment

        entered in this case should proceed. WMC at page 6 of its motion

        acknowledged the very severe sanctions it insists be imposed on Tenerife and

        others for failure to vacate the judgment in this case. WMC did not rebut the

        facts or the law invoked by Tenerife.

     43. Tenerife replied by examining all of the abstention doctrines, and argues that

        none indicate any grounds for this Court to abstain or to abdicate its exclusive

        primary In Rem jurisdiction, and its constitutional structural function as

        recognized by the United States Supreme Court. See: Seila Law LLC v.

        Consumer Financial Protection Bureau, 140 S.Ct. 2183, 2020 WL 3492641,

        (2020); Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 501-02,
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              130 S. Ct. 3138, 3157, 177 L. Ed. 2d 706 (2010) and Garcia v. San Antonio

              Metro. Transit Auth., 469 U.S. 528, 581-83, 105 S. Ct. 1005, 1033-34, 83 L.

              Ed. 2d 1016 (1985).

         44. The federal court has not acted on this issue.

              The facts ascertained are necessary and indispensable for this Order and

  opinion to be complete, coherent, the facts to support the opinion, and for any Court

  examining, reviewing, questioning, enjoining or challenging what this Court now

  provides and orders, to understand the origin and evolution of the interjurisdictional

  confrontation, its actors, the facts, the law, the documents, what was raised, what was

  demanded, what was disregarded, the parties' positions, the evolution to the present,

  the consequences, the motive, and what is adjudicated, ordered and provided for in

  this Order. Each of these elements is a necessary foundation for this decision and

  Order. It is necessary to determine the facts, because on them depends the substantive

  entitlement of the parties to this Order which includes and binds WMC, and

  determines the very jurisdiction of each Court, especially because it concerns which

  of the conflicting judgments takes precedence over the others, and/or exceeds the

  scope of the jurisdiction of either Court, its standing in the full faith and credit

  required, and the circumstances in which it is required.

              This decision is on the substantive merits of the parties thereto (WMC,

  Tenerife, Juan Almeida, Francisco Almeida, Wanda Cruz, EER-IPR, and collaterally

  Ms. Dora Monserrate Peñagaricano, all pursuant to the jurisdictional limit of each

  Court and government.

                                           CONCLUSIONS OF LAW

              The term jurisdiction is a word with many meanings and has been used

  loosely. Sebelius v. Auburn Regʻl Med. Ctr., 568 U.S. 145, 153-55, 133 S. Ct. 817, 824-

  25, 184 L. Ed. 2d 627 (2013). Particularly relevant to this case and this opinion are In

  Rem11                     jurisdiction,                  and                  jurisdiction                   to




  11   See: Princess Lida of Thurn and Taxis v. Thompson 305 U.S. 456, 465-467, 59 S.Ct. 275, 83 L.Ed. 285 (1939).
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  decree a particular remedy12. Of special interest to what concerns us is the Exclusive

  Primary In Rem Jurisdiction.

              This case is about foreclosure of real estate, which is an In Rem proceeding,

  directly over the thing subject of the lien13. The complaint initiating this case was filed

  on February 25, 2009. Since that date, February 25, 2009, it is this Court the one

  that has the Exclusive Primary In Rem Jurisdiction over the mortgaged real estate with

  respect to the first rank mortgage being foreclosed. It has not been argued that there

  is another older case that has In Rem Jurisdiction over the same property and/or

  mortgage. Consequently, this Court rules, in accordance with the In Rem jurisdictional

  principles outlined in Princess Lida v. Thompson, supra, that this Court in this case

  has Exclusive Primary In Rem Jurisdiction over the subject matter, which precludes

  any other Court from acting differently from what this Court has ruled by Judgment

  over the mortgage and the real property in foreclosure.

            Allowing two Courts to act simultaneously over the same thing risks contradictory

  rulings, which is absurd, illegal, and unconstitutional. See De La Vega v. Frow 82 U.S. 552

  (1872)14. Contradictory judgments do not resolve or adjudicate controversies, but rather

  multiply them, betraying the constitutional purpose for which Federal and State Courts

  exist, which is to adjudicate by ending live and real cases or controversies, not to perpetuate

  them. Several judgments contradictory to each other, as well as a judgment contradictory

  within itself, makes it impossible to enforce those judgments, and places the parties before

  the impossible, to act in a mutually exclusive manner. Aptly described as an absurdity by

  the Supreme Court of the United States. The entire procedural system, principles of res

  judicata,      full    faith     and      credit,     consolidation        of     cases,      indispensable



  12 See Arbaugh v. Y&H Corp; 546 U.S. 500, 126 S.Ct. 1235, 163 L.Ed.2d 1097 (2006), Prou v. U.S. 199 F.3d
  37, 45-46, (UBCA 1st, 1999) and Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403
  U.S. 388, 91 S.Ct. 1999, 29 L.Ed.2d 619 (1971), concurring opinion of Judge Harlan, and footnotes 5 and 6.
  13 First Fed. Savs, v. Nazario et als, 138 DPR 872, 879 (1995), C.R.U.V. v. Torres Perez, 111 D.P.R. 698, 699

  (1981); P.R. Prod. Credit Assoc. v. Registrar, 123 D.P.R. 231 (1989), Donovan v. City of Dallas, 377 U.S. 408,
  412, 84 S.Ct. 1579, 12 L.Ed.2d 409 (1964).
  14 The United States Supreme Court in that case stated:

  “... this absurdity might follow: there might be one decree of the court sustaining the charge of joint fraud
  committed by the defendants; and another decree disaffirming the said charge, and declaring it to be entirely
  unfounded, and dismissing the complainant's bill. And such an incongruity, it seems, did actually occur in this
  case. Such a state of things is unseemly and absurd, as well as unauthorized by law.”
  But a final decree on the merits against the defaulting defendant alone, pending the continuance of the cause,
  would be incongruous and illegal. (Emphasis added)
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  party, among many other principles and laws, exist to prevent conflicting judgments.

  However, this Court finds itself, like Tenerife, the Federal Court and the parties to this

  and this case, faced with contradictory judgments in several dimensions. It is

  incumbent upon us to untangle and decipher the present mess of rulings and

  jurisdiction. Precisely because of this reason, it has been indispensable to determine

  the facts, procedurally, legally, in jurisdiction, constitution and mutual respect

  between jurisdictions, for the conjuncture to help a more perfect union and work in

  harmony, in mutual respect of the Courts, judges, parties, and governments. There is

  neither room nor opportunity for it to be understood that this opinion can be

  contradictory to anything that remains in force. We therefore begin by vacating the

  October 10, 2019 Ruling issued by this Court, not doing so risks contradictions that

  the situation can no longer tolerate. Additionally, the binding effect on the merits of

  the January 17, 2018 Resolution, affirmed on appeal in Appeal KLCE2018-0894, is

  recognized and reiterated. Therefore, being this Court the one with the Exclusive

  Primary In Rem Jurisdiction, it is the one to which, in the distribution of power and

  jurisdiction, corresponds to adjudicate in a binding manner, on the merits the matters

  pertaining to the conflicting judgments on the disposition of the property subject to

  execution in this case and the rights related to the mortgage, judgment and property.

  This is the function of the Exclusive Primary In Rem Jurisdiction.

          The constitutional structure is built on the dissemination of power among

  many governments, among the branches of each government, and in turn within each

  branch; distribution of power and jurisdiction among all those parties, with rules

  delimiting the scope of function and power for each party to act. The need for each

  branch, judge, official and party to know and clearly identify the limits within which

  they can operate and their acts are valid, is essential for the operation in concert of all

  these courts, governments, officials, and the population to flourish before the clarity

  and certainty of their rights, their obligations and field of action. This is structural

  constitutional law. After all, it is imperative that each Court examine its
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  own jurisdiction when acting, and when possible, at the threshold. The jurisdiction of

  this Court is limited in several respects, but as to the mortgage foreclosed in this case,

  the rights over it, the judgment rendered in this case, that jurisdiction is complete,

  exclusive, primary, and In Rem.

            State and Federal Courts are in the same rank and are co-equal, there is no

  supremacy between them. Employees v. Department of Public Health and Welfare, 411

  U.S. 279, 298, 93 S.Ct. 1614, 36 L.Ed.2d 251 (Marshall, J., concurring); Martin v.

  Hunter's Lessee, 1 Wheat. 304, 339-40, 14 U.S. 304, 4 L.Ed. 97 (1816). The supremacy

  of some federal matters refers to federal laws that Congress issues in the legitimate

  use of its various powers. Federal Courts lack power15 to reverse, amend, or vacate a

  State Court Judgment rendered under state law.

            The judgment rendered by the Federal Court in case 16-01394 in its various

  portions is a single judgment, which is not severable as decided by the Federal Court

  itself. The diversity of citizenship between WM Capital and plaintiffs confers subject

  matter jurisdiction between those persons, and it has supplemental jurisdiction over

  indissolubly related matters, however, when entering judgment it must have

  jurisdiction over the relief it grants. That is, it cannot issue just any remedy, without

  limits. For example, it cannot issue relief on expropriation or takings claims against

  the U.S. Government (in excess of $10,000.00), that relief can only be granted by the

  Court of Federal Claims. Tucker Act, 28 U.S.C. § 1491(a), Brott v. United States, 858

  F.3d 425, 429 (USCA 7th, 2017)16 .Other circumstances establish exclusive remedies

  in administrative agencies, Shalala v. Illinois Council on Long Term Care, Inc, 529 U.S.

  1, 120 S.Ct. 1084, 146 L.Ed.2d 1 (2000) (jurisdiction is also required for the judicial

  remedy                 at              issue,                diversity               or               federal




  15 Fox Film Corp. v. Muller, 296 U.S. 207, 210, 56 S. Ct. 183, 184, 80 L. Ed. 158 (1935); Martinez v. Ryan, 566
  U.S. 1, 10-11, 132 S. Ct. 1309, 1316, 182 L. Ed. 2d 272 (2012); Coleman v. Maldonado, No. 3:15-CV-1878
  (MPS), 2018 WL 1587462. Real property is governed by the laws of the state where it is situated. Articles 49
  and 50 of the Puerto Rico Civil Code of 2020, and 31 LPRA § 10-- article 10 of the Puerto Rico Civil Code of
  1930.
  16 See also: Eastern Enterprises v., Apfel, 524 U.S. 498, 118 S.Ct. 2131, 141 L.Ed.2d 451 (1998), Ruckelshaus

  v. Monsanto Co., 467 U.S. 986, 1016-19, 104 S.Ct. 2862, 81 L.Ed.2d 815 (1984)); Blanchette v. Conn. Gen. Ins.
  Corps. (Reg'l Rail Reorganization Act Cases), 419 U.S. 102, 126-27, 95 S.Ct. 335, 42 L.Ed.2d 320 (1974).
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  question is not sufficient). Lack of jurisdiction is also not cured by so-called

  supplemental jurisdiction 28 U.S.C. §1367. See Ware v. U.S., 626 F.2d 1278 USCA

  5th 1980); U.S. Marine, Inc. v. U.S., 478 Fed. Appx. 106 (USCA 5th 2012); Woodbury

  v. United States, 313 F.2d 291, 296 (9th Cir.1963). The list is illustrative, not

  exhaustive.

         Recognizing that the Federal Court has diversity of citizenship jurisdiction does

  not conclude the jurisdictional issue, it is imperative to determine whether it also has

  jurisdiction for the remedy conferred or intended to be conferred; so-called “Remedy

  Jurisdiction.” This “Remedy Jurisdiction” is part of the dissemination of power and

  jurisdiction among various governments, branches and forums, and consubstantial

  with structural constitutional law. See: Seila Law LLC v. Consumer Financial Protection

  Bureau, 140 S.Ct. 2183, 2020 WL 3492641, (2020), from which we quote:

           “The Framers recognized that, in the long term, structural protections against
  abuse of power were critical to preserving liberty.” Bowsher, 478 U.S., at 730, 106
  S.Ct. 3181. Their solution to governmental power and its perils was simple: divide it.
  To prevent the “gradual concentration” of power in the same hands, they enabled
  “[a]mbition ... to counteract ambition” at every turn. The Federalist No. 51, p. 349 (J.
  Cooke ed. 1961) (J. Madison). At the highest level, they “split the atom of sovereignty”
  itself into one Federal Government and the States. Gamble v. United States, 587 U. S.
  —,— 139 S.Ct. 1960, 1968, 204 L.Ed.2d 322 (2019) (internal quotation marks
  omitted). They then divided the “powers of the new Federal Government into three
  defined categories, Legislative, Executive, and Judicial.” Chadha, 462 U.S., at 951,
  103 S.Ct. 2764. (Emphasis added)

         The jurisdictional issue regarding the remedy was presented by Tenerife, both

  to the Federal Court when it applied for abstention in May 2018 (docket 123), and to

  this Court when it applied for Remedy in Enforcement of Judgment on June 19, 2019,

  which is contemporaneous with the Federal Judgment being rendered. The Federal

  Appellate process was available and utilized. This Court then did not act on the

  request, and the Federal Court denied abstention. Tenerife has acted with the required

  diligence. Now that the Federal Court has been afforded all the space and deference

  that it is possible to afford, Tenerife, this Court, the Almeida Cruz and Juan Almeida

  spouses and WM Capital itself are confronted with contradictory judgments, as well

  as the contradiction subsumed within the same federal judgment in its final form. The

  contradiction   subsumed    within   the   same   federal   judgment    is   inseparable
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  from the very process this Court has to deploy to evaluate the weight, validity of said

  judgment and to what extent it complies with it, whether or not it gives full faith and credit

  to it, to what extent, if any. This Court does not intend to review the substantive or

  procedural correctness of the provisions in and by said Federal Judgment, only to fulfill its

  jurisdictional and constitutional function, as has been elaborated in this opinion.

            This Court, confronted with the request to issue a writ of execution of the judgment

  of November 7, 2011, in terms that are contrary to the judgment itself that is sought to be

  executed, contrary to the stipulation by which said judgment was issued, contrary to the

  real estate foreclosure process mandated by the Puerto Rico Mortgage Act, contrary to the

  due process of law post judgment, and having exhausted all appeals on appeal from the

  Federal Court Judgment, it is imperative that this Court adjudicate whether to recognize

  full faith and credit to the federal judgment, and in fact annul the judgment rendered in this

  case, issuing the requested Writ of Mandate.

            In Puerto Rico, the process to foreclose on real estate is Public Policy. Ponce

  Federal Savings v. Gómez, 108 D.P.R. 585, 589-590 (1979)17.

            Giving full faith and credit to the judgment of another forum in the United States

  judicial system is neither automatic nor ex proprio vigore. Rodriguez Contreras v. E.L.A.,

  183 D.P.R. 505 (2011). It is necessary to examine both the jurisdiction of the issuing

  Court, as well as the process followed and ordered, albeit with medium reasonableness,

  and not rigorously. Full faith and credit is a two way street18. The Federal Court is also

  obliged to give full faith and credit to the binding final judgments of the Puerto Rico Courts.

  The Judgment rendered in this case on November 7, 2011 has not been challenged at any

  time or in any forum. All recognize its character as a judgment, final on the merits,

  binding with the effect of res judicata. This Court's opinion of January 17, 2018




  17 The Supreme Court of Puerto Rico expressed the following:
  “The absence of a minimum rate for the auctions as a minimum rate gave rise to numerous abuses, achieving
  awards for derisory amounts. As we stated in Arroyo v. Registrar, 86 D.P.R. 362, 368-69 (1962), due to the
  numerous abuses to which the absence of a minimum price gave rise, with the consequent adjudication
  or auction for derisory amounts, the Legislative Assembly, through Act No. 69 of May 2, 1931 (Laws, p. 433)...,
  reestablished Art. 127 of the Mortgage Act, in a new version.” (Emphasis added).
  18 Full Faith and Credit applies to the Federal Government by express statutory command, see 28 U.S.C. §1738,

  Amy v. Adm. Equestrian Sports Adm.; 116 D.P.R. 414, 420 (1985), and Sutton v. Parker, 800 F. App'x 397, 400
  (6th Cir. 2020).
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  expressly stated on the substantive merits and in a binding manner that it is not

  proper to demand the cancellation of said judgment, and that this is a sustained and

  willful default by WM Capital. The same Federal Court in that part of its final judgment

  which is docket 288 recognizes and declares that WM Capital cannot demand and is

  not entitled to have the judgment rendered in this case nor the mortgage foreclosed

  here cancelled. The Federal Court did not give full faith and credit to the judgment of

  November 7, 2011 or to any opinion of this Court. With respect the January 17, 2018

  Resolution determined it is only dicta in its entirety, with respect to the November 7,

  2011 judgment, it does not address any issue as to its binding effect.

          The content of the Federal Judgment, in the words that the Final Judgment

  uses docket 289, orders process that reaches exactly what the same Judgment in

  docket 288 decrees is not possible and is not entitled; this is, to bid zero money in the

  public auction[,] foreclose the mortgage, award the property others [sic] without

  Tenerife being able participate and cancel mortgage and judgment. The name does not

  make the thing, the process ordered by the Federal Judgment intends to cancel, annul

  and set aside the previous Judgment of this Court, and dismisses giving full faith and

  credit to the Judgment of this Court of January 7, 2011 and the Resolution of January

  17, 2018 which has binding effect to WM Capital.

          It is notworthy that said Judgment orders exactly what WM Capital has been

  demanding since the same year 2014; to cancel the Judgment rendered in this case.

  It is recognized that said Judgment is the result of proposal and draft submitted by

  WM Capital to the Federal Court. Therefore, this Court concludes and determines that

  the post judgment jurisdictional, substantive and due process defect contained in the

  final Federal Judgment is a continuation of the same fraudulent, non-compliant

  conduct of WM Capital and its agents. The Federal Court induced such conduct and

  judgment. In doing so, it has repeatedly, intentionally and illegally deprived Tenerife

  of its property by not allowing it to enforce its judgment for seven years.

          WM Capital's described conduct, is especially disturbing on several

  dimensions,    including     that:   (a)     its   duties   under   the       contract   of
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  July 28, 2014 are fiduciary in nature as it has turned over to the “assign for payment”

  property to manage and in joiontly sell in public auction to generate as much as

  possible for the benefit of the parties, that is a common fund or trust, (b) openly and

  intentionally flouting the clear ruling of this Court the Judgment of on November 7,

  2011 and Resolution of January 17, 2018, c) using the form and process of the auction

  to cancel substantive rights and deprive of the valuable property it entails, d)

  deliberately disregarding the same Federal Judgment it intends to enforce, incurring

  in subtilitas19, abuse of law and process, by requiring process that betrays the very

  substantive ruling of the Federal Court; e) threatening the parties to punish them and

  demanding injunction, because they do not comply with the judgment issued in this

  case, resorting to intimidation to obtain that which they are not entitled to f)

  instigating the use of foul and offensive language adopted by the Federal Court such

  as that contained in the three orders to show cause (dockets 462, 463, and 464

  unrelated to the required conduct), g) request and even demand that this Court refrain

  from honoring the validity of its own judgment and disregard the Court of Appeal's

  Order in KLCE2018-0894, h) demand that Tenerife and EER-IPR be deprived of their

  Post Judgment Due Process of Law, i) the list is not exhaustive. All this leads us to

  address the request for sanctions that for such conduct Tenerife has requested as part

  of the Remedy in Enforcement of Judgment. This Court declares that WM Capital has

  incurred in insistent recklessness sustained for six and seven years (it assumed the

  liability of its predecessor). WM Capital's legal representation has been the same, who

  have breached their obligations under Rule 9.1 of Civil Procedure by insisting on

  disregarding the orders of this Court and in vacating the judgment of November 7,

  2011. Consequently, relief under Rule 9.3 is appropriate, both in the form of monetary

  and procedural sanctions and disqualification20 of WM Capital's attorneys, including

  Mellado, Leal and Orejuela.


  19   Silva v. Industrial Commission, 91 D.P.R. 891 (1995).

  20 At great length this aspect has been examined, and the Court concludes that the appearing attorneys
  (Mellado, Leal and Orejuela, and the Mellado & Mellado law firm), with the express and/or tacit concurrence of
  their client, WMC admitted in deposition of May 11, 2017 pages 74 and 75), have deliberately caused this
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              Tenerife, as part of the remedy in Enforcement of Judgment, seeks injunction

  against WM Capital and its counsel to cease and desist from pursuing to vacate, modify or

  render ineffective the judgment in this case by joint auction process resulting in zero money

  bidding and cancellation of mortgage and judgment. Disqualification to some extent secures

  that conduct, but the Order should be extensive to and effective upon WM Capital. A

  mortgage is property21, a cause of action is property22, a Final and Final Judgment is

  property, id. The actual and credible threat to impair and/or deprive constitutional rights is

  irreparable harm requiring injunction. DeNovellis v. Shalala, 135 F 3d 58, 71-72 (USCA 1st

  Cir. 1998), from which we quote:

           “It is well established that, “[i]f the plaintiff suffers a substantial injury that is
  not accurately measurable or adequately compensable by money damages, irreparable
  harm is a natural sequel. Thus, a cognizable threat of such harm can support a
  restraining order.” Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12, 19
  (1st Cir.1996) (emphasis added) (citations omitted); cf. Elrod v. Burns, 427 U.S. 347,
  373, 96 S.Ct. 2673, 2689-90, 49. L.Ed.2d 547 (1976) (Deprivation of a constitutional
  right, “for even minimal periods of time, unquestionably constitutes irreparable
  injury.).” (Emphasis added).
           See also, Elrod v. Burns, supra, al pages U.S. 373-374, where the Court states:
           “It is clear therefore that First Amendment interests were either threatened or
  in fact being impaired at the time relief was sought. The loss of First Amendment
  freedoms, for even minimal periods of time, unquestionably constitutes irreparable
  injury. See New York Times Co. v. United States, 403 U.S. 713, 91 s.Ct. 2140, 29
  L.Ed.2d 822 (1971). Since such injury was both threatened and occurring at the time
  of respondents' motion and since respondents sufficiently demonstrated a probability
  of success on the merits, the Court of Appeals might properly have held that the
  District Court abused its discretion in denying preliminary injunctive relief. See
  Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 67, 83 S.Ct. 631, 637, 9 L.Ed.2d 584
  (1963).” (Emphasis added).

              The admission made by WM Capital by its trustee James Barr in deposition to the
  effect that it requires the first mortgage to be discharged as a condition of not standing in
  the             way            of           the            auction              sale            in            case




  interjurisdictional clash, which was unnecessary and could have been avoided. WMC and its attorneys were
  alerted early, including by the January 17, 2018 Resolution. What has transpired reverberates and we do not
  take lightly the displayed conduct. The obligation to deference, collaboration and respect among the various
  judicial systems is in the first instance in the hands of the litigating lawyers, who are truly ambassadors of
  goodwill and respect to Courts, judges, parties, laws, governments, dignitaries, and justice. They are the face
  of the jurisdiction they represent. How the Courts deal with offensive and/or improper conduct communicates
  what the Courts of a jurisdiction require of their officers and counsel in interjurisdictional dealings. The message
  must be clear and determined, and its echo must carry the necessary consequences of attention and respect.

  21See: Ashton v. Cameron County District, 298 U.S. 513, 56 S.Ct. 892, 80 L.Ed. 1309 (1936); Wright v. Union
  Central 311 US 273, 61 S.Ct. 196, 85 L.Ed. 184 (1940); Continental Illinois Nat. Bank & T. Co. v. Chicago, Etc.
  Chicago, Etc., Co, 55 S.Ct. 595, 294 U.S. 648, 79 L.Ed. 1110 (1935). See footnote on the subject in Reply to
  Request for Abstention dated July 29, 2021.

  22
       See: Alicea v. Córdoba, 117 DPR 676 (1986).
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  K CD2011-0142, position sustained for more than six years, which has had the actual
  direct effect and causation of preventing the auction, the open disregard to the
  Resolution of January 17, 2018 and the contradictory Federal Judgment (in itself and
  with respect to others) provides no room for doubt that it is necessary and required to
  issue the requested injunction to WMC and its attorneys, the present and future
  attorneys substituting Rule 57.5 of Civil Procedure. The precise prohibited conduct is
  in any way, directly or indirectly, hindering the public sale of the mortgaged property
  with respect to cases K CD2011-0142 and K CD2009-0708 and/or in any way directly,
  indirectly,   procedurally,    substantively,    undermining,      abridging,     abusing    or
  misrepresenting rights or process, impairing the judgment rendered in this case on
  November 7, 2011, including, but not limited to as was declared and ordered in
  Resolution of January 17, 2018, confirmed on appeal KLCE2018-0894, and the rights
  of Tenerife and the mortgagor thereon, over those instruments judgments and
  contracts.
          It is not possible, it is not valid, it is not rational, it is not legal (De La Vega v.

  Frow, supra it is not constitutional for contradictory and/or inconsistent judgments

  to remain in force and binding. This Court gave the federal district court and the

  federal court of appeals all the room possible to make its ruling consistent with the

  rulings in K CD2009-0708 and K CD2011-0142. It was reasonable and inescapable to

  think that it would be, since what was assigned for payment by sale at public auction

  was precisely a joint community interest in the judgment. To annul what has to be

  sold maximizing the price is contrary to the purpose that the parties agreed upon.

  Consequently, this Court, in its constitutional function and in the use of its Exclusive

  Primary In Rem Jurisdiction, declares that the judgment rendered in this case on

  November 7, 2011, as interpreted and applied to the facts by Resolution of January

  17, 2018 has primacy, priority and controls over any opinion, decision or judgment of

  the Federal Court in case 16-01394 and what was decided by the Federal Court of

  Appeals in appeal 19-1766; if not being divisible the Federal Judgment has any

  validity.                The                    nature                 of                   the
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  Exclusive Primary In Rem Jurisdiction, and the illegality of conflicting judgments

  subsisting, the Exclusive Primary In Rem Jurisdiction23, coupled with the function of

  this Court at this juncture demands such remedy as the most effective and feasible,

  if any other remedy could be available, no other has been brought to the attention of

  this Court. The parties, the Courts and society cannot stand such situation for a

  prolonged period of time, betraying the constitutional function of adjudicating live and

  real controversies in a final and conclusive manner. That is the remedy that this Court

  imposes in design specific to the circumstances, which has been determined and

  explained herein in detail.

           As a measure in aid of jurisdiction and in Enforcement of Judgment, the

  Registrar of the Property is ordered to note in the books under his charge the exclusive

  primary In Rem jurisdiction of this Court in this case, as described below in the order,

  and an order to that effect is issued.

                   Enforcement of Judgment, Rule 56 of Civil Procedure

           The text of Rule 56 is clear and has been extensively interpreted, it is not

  necessary to extend this opinion substantially. It is sufficient to recognize that the

  Remedy in Enforcement of Judgment refers to the final, firm, unappealable judgment

  rendered on November 7, 2011, which no one disputes. Likewise, that the effectiveness

  of said judgment is in real, credible, and substantial risk of being undermined, to the

  extreme of being annulled by third parties and action of another Court lacking the

  same Exclusive Primary In Rem Jurisdiction. It is recognized that the parties since

  2017 and 2018 had the opportunity to present and present evidence, and that a face-

  to-face court hearing was held where they had additional opportunity. The situation

  addressed by this Court requires that, as the forum with Exclusive Primary In Rem

  Jurisdiction, both the effectiveness of the judgment, as well as the constitutional rights

  of the parties over the same, be protected. The threatened damage is irreparable by

  definition,             Supra.              Being             post             judgment,               no



  23
    See: Pastor-Ginorio v. R & G Mortg. Corp., 371 F. Supp.2d 89, USDC PR, 2005) (When the state court has In
  Rem jurisdiction it may issue injunction to the federal court in protection of such jurisdiction).
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  posting of bond is required. Therefore, it is necessary to issue as the following remedies

  are issued [sic];

                                            ORDER

          Upon examination of the Motion for Order in Aid of Jurisdiction and Post

  Judgment Provisional Remedy pursuant to Rule 56 of Civil Procedure, this Court

  determines that there is an imminent risk that WM Capital and its legal representation

  will undermine the effectiveness of the Judgment and rulings in this case, by failing

  to comply with them through the use of remedies before other Courts. Consequently,

  in view of the imminent risk, this Court issues order in Aid of the Exclusive In Rem

  Jurisdiction that it has over the property and the mortgage that has been merged with

  the November 2011 judgment. This Court Orders as follows:

          (a) WM Capital and its counsel, Mellado & Mellado Villa Real Law Offices, Jairo

  Mellado Villareal, its employees, associates and partners, to Cease and Desist from

  disavowing the January 17, 2018 judgment, from attempting, directly or indirectly to

  evade it, to set it aside or render it ineffective, under penalty of being found in

  contempt. They are also Ordered to Cease and Desist from pursuing to undermine,

  annul, cancel and/or impair the Judgment rendered in November 2011 in this case,

  under penalty of contempt.

          b) Order the Registrar of the Property to make a Preventive Annotation in the

  Registry of the Property in the property subject to execution in this case, property number

  13,936, recorded in folio 239 of Volume 366 of Monacillos, Registry of the Property of San

  Juan, Third Section; and in volume 939 of Agora, folio 12, and folio 124, Volume 785, Third

  Section of San Juan, property number 13,936. The deed of mortgage for the amount of

  $2,635,000.00, was executed on July 18, 1989, deed #2 before the Notary Public, Charles

  P. Adams, and is recorded in folio 123 of volume 785, Monacillos, Finca 139376, recordation

  18. Said mortgage shall not be cancelled except by express Order of this Court in the present

  case K CD2009-0708, which has Exclusive In Rem Jurisdiction over said property and

  mortgage. Third parties in contempt of the decrees of this Court seeking to cancel said

  mortgage over and contrary to the rulings of this Court in this case. [sic] The remedy is
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  necessary to preserve the integrity of the Registry, the powers of this Court and the

  Exclusive Primary In Rem Jurisdiction of this Court.

          In view of the Prior Exclusive Jurisdiction In Rem over the first Mortgage, it is

  ordered that no other Court or person may order the cancellation of the first mortgage,

  nor alter or cancel the judgment rendered in this case, except by express order of this

  Court in this case, it shall be so recorded in the Land Registry.

          c) The notation in the Registry of the Property must include that WM Capital

  Management, Inc. nor any assignee or successor thereof has any right whatsoever over

  the mortgage constituted on July 18, 1989, deed number two (2), recorded in the

  Registry of the Property.

          --- Urban: Located in the Monacillos Ward of Río Piedras,
          Puerto Rico, with a total area of 10,986.903 square meters. In
          bounds by the NORTH with the parcel adjudicated to Luis
          Lloréns Torres and Mercedes De La Torre; by the SOUTH with
          the San Patricio road; by the EAST with Luis Torres and by the
          WEST with the San Juan to Bayamón Highway, today State
          Highway Number Two (2).

          --- This description corresponds to the remainder of this
          property after segregations.

          --- Recorded in Folio 123, of Volume 785, Third Section of San
          Juan, Property number 13,936.

          --- The physical address of the property is the following: Lot.
          CM, East Marginal, John F. Kennedy Expressway, Bechara
          Industrial Park, Barrio Monacillos, San Juan, Puerto Rico.

          d) Order that the deposit of the promissory note subject to foreclosure in this case,

  which deposit with proper endorsement was made in case K CD2011-0142, be transferred

  to this case, for the exclusive custody and protection of the Exclusive Primary In Rem

  Jurisdiction that this Court has in this case over the real property with respect to the first

  mortgage, the deposit of the three promissory notes which are the subject of execution in

  case K CD2011-0142 shall remain on deposit in said case K DC2011-0142, for the

  protection and aid of jurisdiction of the Superior Court in said case, until such time as

  the Honorable Judge in charge of said case shall otherwise direct.

          e) The promissory note secured by mortgage created by deed number 2 of July

  18,   1989     before    Notary    Charles     P.   Adams,     recorded     in    folio   123
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  of Volume 785 of Monacillos, property number 13936, entry 18, shall be held in

  custody of this Court, nor shall be cancelled or transferred until otherwise ordered by

  this Court, or cancelled by Order of this Court, as part of the proper process of the

  public foreclosure auction held in this case in execution of the judgment rendered in

  this case.

          f) The public auction of the property subject of the Judgment in this case is

  ordered promptly, without further delay, and the Clerk's Office shall issue the

  corresponding Mandates; the proceeds of said auction, if in the bidding money is

  tendered in addition to the mortgage loan, or a third party participant pays the price

  of the auction sale, after this Court approves the auction process, such money shall

  be disbursed in accordance with the ranking of the mortgages and liens in force to

  each owner holder of each lien as ordered by the Mortgage Act and shall not be

  transferred to any other Court, this is part of the Exclusive Primary In Rem

  Jurisdiction of this Court, the post Judgment due process and the rights of the parties

  as declared by this Court;

          g) It is determined that WM Capital Managment, Inc, the manager of WM

  Capital, Mr. James Barr, and its attorneys, Mellado & Mellado, Jairo Mellado Villareal,

  Tessie Leal-Garabis and Héctor Orejuela are found to be in contempt of the Orders,

  Judgments issued in this case, and the Order issued by the Puerto Rico Court of

  Appeals in Appeal KLCE2018-00824, particularly for not having abided by what was

  decided by this Court on January 17, 2018, specifically their lack of right to demand

  that the judgment in this case be annulled or cancelled, and that the Assignment for

  Payment contract of July 28, 2014 has been rightly terminated by Tenerife Real Estate

  Holdings, LLC, especially because said ruling was confirmed by the Court of Appeals

  by Judgment of August 29, 2019, two years ago.

          h) Having evaluated Tenerife's arguments, we concur with said party that WM

  Capital Managment, Inc. and its attorneys, Mellado & Mellado, Jairo Mellado Villareal,

  Tessie Leal-Garabis and Héctor Orejuela have breached their duties under Rule 9.1 of

  Civil         Procedure,          and           sanctions          should            be
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  imposed pursuant to Rule 9.3 of Civil Procedure. It is hereby determined that for the

  temerity WM Capital Management, Inc. has incurred since being denied intervention

  by this Court on January 17, 2018 and sustained to the present, fees in the amount

  of $25,000.00 are hereby imposed. In addition, the sum of Five Thousand Dollars

  ($5,000) is hereby assessed against each of counsel. They shall have fifteen (15) days

  to satisfy the same, because their deliberate acts have been driven by a pattern of

  unjust and excessive enrichment sustained for six years; the Court begins with a

  modest sum, considering what has been caused, its duration and consequences.

  considering what has been caused, its duration and consequences. As permitted by

  Rule 9.3, they are disqualified from filing any documents in this case, even though

  their client WMC is not a party to the case but is a party to this opinion. Be advised

  that if the provisions herein are not complied with, further sanctions and any other

  measure according to law may be imposed.

          j) It is hereby declared that the Judgment rendered in this case on November

  7, 2011, as recognized and applied in the Resolution of January 17, 2011, takes

  precedence in all its aspects in reference to the Judgment rendered by the Federal

  Court in case 16-01394, especially those parts that are in contradiction and/or may

  undermine what was decreed and sentenced in this case.

          The Clerk's Office of this Court hereby orders the Registrar of the Property, the

  parties, their attorneys, Dora Monserrate Peñagaricano, and directs the Bailiff to

  enforce the Order in all its parts.

          BE RECORDED AND NOTIFIED.

          In San Juan, Puerto Rico this 16th day of August, 2021.

                                                  [Signature]
                                        s/RAUL A. CANDELARIO LOPEZ
                                             SUPERIOR JUDGE




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No. 2021-141 TRANSLATOR’S CERTIFICATE OF ACCURACY

          I, Mayra Cardona Durán, of legal age, single, resident of Guaynabo, Puerto Rico, Certified
Interpreter of the United States Courts (Certification No. 98-020) and certified by the National
Association of Judiciary Interpreters and Translators (10671), holding a Master’s Degree in Translation
and admitted to the Puerto Rico Bar Association (Bar No. 12390, RUA No. 11038) hereby CERTIFY:
that according to the best of my knowledge and abilities, the foregoing is a true and rendition into English
of the original Spanish text, which I have translated and it is stamped and sealed as described therein.
This document is comprised of Forty-Three (43) Pages, including this certification page, and does not
contain changes or erasures.

          In Guaynabo, Puerto Rico today, Monday, August 23, 2021.



                                       Lcda. Mayra Cardona
                                     BA Lit/Fr, MA Trans, JD
                              United States Courts Certified Interpreter
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